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         EXHIBIT
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 MD5 File Checksum
This MD5 online tool helps you calculate the hash of a file from local or URL using MD5 without uploading the
file. It also supports HMAC.

                                                                                                            71
 Input




                                                     D
                                              IMG 0471.mov




 Output                                                                                              0
e9clcl245d6a5c0b096a39aal6edl98b37




 Settings


                                                    Hash


          Auto Update


          Remember Input

 Input Type

  File
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              7:04                              .il      92



                             IMG 0471   -               Done
